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                          IN THE DISTRICT COURT FOR THE
                              DISTRICT OF COLUMBIA


                                            )
In the Matter of the                        )
Federal Bureau of Prisons’ Execution        )
Protocol Cases,                             )
                                            )
LEAD CASE: Roane et al. v. Barr             )      Case No. 19-mc-00145 (TSC)
                                            )
                                            )
THIS DOCUMENT RELATES TO:                   )
                                            )
ALL CASES                                   )
                                            )

                                   NOTICE OF WITHDRAWAL

       To Clerk of Court and all parties of record, please take notice of the withdrawal of JEAN

LIN as counsel for all defendants in these consolidated cases. Defendants remain represented by

Assistant U.S. Attorney Johnny Walker from the U.S. Attorney’s Office for the District of

Columbia.


Dated: January 19, 2021

Respectfully submitted,


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                              CERTIFICATE OF SERVICE
       I hereby certify that on January 19, 2021, I caused a true and correct copy of foregoing to

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